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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
       Plaintiff/Respondent,                      §
                                                  §
V.                                                §           CR. No. C-06-485 (3)
                                                  §           C.A. No. C-08-307
RENE DE LA TORRE,                                 §
                                                  §
       Defendant/Movant.                          §

                      ORDER DENYING MOTION TO VACATE,
                     SET ASIDE OR CORRECT SENTENCE AND
                 ORDER DENYING CERTIFICATE OF APPEALABILITY

       Pending before the Court is Rene De La Torre’s (“De La Torre”) motion to vacate, set aside

or correct his sentence pursuant to 28 U.S.C. § 2255, with supporting memorandum. (D.E. 67, 68.)

He later filed a supplement. (D.E. 84.) The Court ordered the United States to respond (D.E. 86)

and the United States filed a combined response and motion to dismiss, addressing both De La

Torre’s initial motion and his supplement. (D.E. 93, 94.) De La Torre timely filed a reply (D.E. 95),

and an amended reply (D.E. 97), both of which the Court has also considered.

       Pursuant to the Court’s order, an evidentiary hearing was held in the case on July 15, 2009

to address De La Torre’s claim that his underlying defense counsel, Jose E. Chapa, Jr., failed to

appeal after being requested to do so. At the hearing, the Court heard testimony from both Chapa

and from De La Torre himself.

       De La Torre was represented at the hearing by appointed counsel Assistant Federal Public

Defender Geraldo Flores. Mr. Flores informed the Court that De La Torre wanted to pursue only

some of his six claims and to withdraw the remaining claims. Specifically, the only claims he


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wanted to pursue were his claim that counsel failed to appeal after being requested to do so, and his

claims related to the leadership enhancement, i.e., that his counsel was ineffective for failing to

challenge the Court’s application of a leadership role enhancement at sentencing and that the Court

improperly applied that enhancement. His other claims are therefore considered withdrawn.

       For the reasons set forth on the record at the conclusion of the hearing, and for the reasons

set forth in more detail herein, the Court denies De La Torre’s § 2255 motion. The Court also denies

De La Torre a Certificate of Appealability (“COA”).

                                        I. JURISDICTION

       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 2255.

                                       II. BACKGROUND

A.     Criminal Proceedings and § 2255 Allegations

       The factual and procedural background of the case are set forth in the Court’s order setting

the case for an evidentiary hearing, and familiarity with that Order is assumed. (See D.E. 98 at 2-5.)

As noted, De La Torre withdrew some of his claims at the evidentiary hearing. His remaining

claims are: (1) that his counsel was constitutionally ineffective for failing to appeal;(2) that his

counsel was ineffective for failing to challenge the leadership enhancement; and (3) that the Court

improperly applied that enhancement.

B.     Evidentiary Hearing

       As the Court stated at the conclusion of the July 15, 2009 evidentiary hearing, it did not find

the testimony of De La Torre to be at all credible. In particular, he testified that he had previously

lied to the Court under oath and he repeatedly testified about facts at the hearing that were flatly

contradicted by the rearraignment and sentencing transcripts in this case. Additionally, in an effort


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to explain blatant inconsistencies between his § 2255 motion and his testimony at the hearing, De

La Torre testified that another inmate helped him with his § 2255 motion and that, because he does

not read English, he signed it without really understanding what it said.

          As to De La Torre’s allegations that he asked Chapa to appeal or that Chapa told him he

would appeal, the Court specifically found that De La Torre never told Chapa to appeal. The Court

further found credible Chapa’s testimony that, had he been asked to appeal, he would have filed a

notice of appeal.

                                           III. ANALYSIS

A.        Counsel’s Alleged Failure to Appeal

          When evaluating an ineffective assistance claim based upon counsel’s alleged failure to file

an appeal, this Court is guided by Roe v. Flores-Ortega, 528 U.S. 470 (2000). That case explains

that where a defendant asks that an appeal be filed, and the attorney does not file one, the attorney’s

conduct is deficient. Flores-Ortega, 528 U.S. at 478. As noted, the Court finds that De La Torre was

not credible on this point, and specifically finds that De La Torre never asked Chapa to file an appeal

on his behalf. Accordingly, the fact that Garza did not file an appeal was not per se deficient,

because the Court finds that De La Torre never asked him to appeal at any point after sentencing.

See id.

          The Court turns next, then, to the issue of whether Garza consulted with De La Torre about

his appellate rights. As explained by the Supreme Court in Flores-Ortega:

                 In those cases where the defendant neither instructs counsel to file an
                 appeal nor asks that an appeal not be taken, we believe the question
                 of whether counsel has performed deficiently by not filing a notice of
                 appeal is best answered by first asking a separate, but antecedent,
                 question: whether counsel in fact consulted with the defendant about
                 an appeal. . . . If counsel has consulted with the defendant, the

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               question of deficient performance is easily answered: Counsel
               performs in a professionally unreasonable manner only by failing to
               follow the defendant’s express instructions with respect to an appeal.

528 U.S. at 478.

       Chapa testified that he had a discussion immediately following the sentencing with De La

Torre, during which he told De La Torre that Chapa thought he had “done okay” in receiving the

sentence he did under the circumstances. Chapa candidly admitted that he did not remember

whether or not he specifically consulted with De La Torre about his appellate rights at that time.

Chapa correctly pointed out, however, that the Court had admonished De La Torre concerning his

appeal rights at the conclusion of sentencing. (D.E. 78, Sentencing Transcript (“S. Tr.”) at 17.).

       Because his testimony at the hearing conflicts with his § 2255 motion, De La Torre’s

testimony does nothing to clear up whether or not Chapa consulted regarding his appellate rights.

In his § 2255 motion, De La Torre claimed that Chapa discussed his appeal rights with him after

sentencing and told him De La Torre he would appeal. At the evidentiary hearing, however, De La

Torre contended that Chapa never came to see him after sentencing and that he never saw Chapa or

heard from him again until the evidentiary hearing. Moreover, there was no testimony from De La

Torre stating that he had made any effort to contact Chapa at any time to ask about an appeal,

despite the Court’s informing him of his appellate rights.

       Even if Chapa had failed to consult, however, the Court does not find that his conduct was

deficient in this case.   In cases where counsel has not consulted with the defendant, counsel’s

performance is deficient only if he had a constitutionally imposed duty to consult with the defendant

about an appeal. 528 U.S. at 478-79. That duty arises

               when there is reason to think either (1) that a rational defendant
               would want to appeal (for example, because there are nonfrivolous

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                 grounds for appeal), or (2) that this particular defendant reasonably
                 demonstrated to counsel that he was interested in appealing. In
                 making this determination, courts must take into account all the
                 information counsel knew or should have known. . . . Only by
                 considering all relevant factors in a given case can a court properly
                 determine whether a rational defendant would have desired an appeal
                 or that the particular defendant sufficiently demonstrated to counsel
                 an interest in an appeal.

528 U.S. at 480 (internal citation omitted).

          In the instant case, based on his counsel’s request at sentencing, De La Torre received a

sentence that was half of the advisory guideline range for the offense. That is, while the advisory

guideline range for Count One was 360 months to life, the Court imposed a 180-month sentence.

The Court also made a recommendation that De La Torre be housed in a medical facility, which his

counsel said was important to De La Torre. Chapa also testified that he did not see any grounds for

an appeal because he did not believe there were any errors at sentencing.                Under these

circumstances, there was no reason to believe that a rational defendant would have desired an

appeal.

          As to the second prong above, the Court credits Chapa’s testimony that De La Torre never

expressed an interest in appeal. Chapa testified repeatedly that, had De La Torre expressed an

interest in appealing, he would have filed a notice of appeal.

          Additionally, the Court expressly informed De La Torre of his appellate rights at the

conclusion of sentencing. Thus, De La Torre knew that he had the right to appeal and that he must

do so within ten days of judgment being entered. He knew of his rights and, had he wanted to

appeal, could have requested an appeal. Under these circumstances, the Court finds that, even if

counsel failed to consult about his appeallate rights, he was not deficient. The movant has the




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burden of proof to show that his counsel was ineffective. See United States v. Chavez, 193 F.3d

375, 378 (5th Cir. 1999). De La Torre has failed to meet that burden.

B.     Challenges to Leadership Enhancement

       1.      Claim That Court Erred In Applying the Enhancement

       The Presentence Investigation Report assessed a four-level increase in De La Torre’s offense

level, finding that he was a manager or leader of a conspiracy. (PSR at ¶ 48.) To the extent De La

Torre attempts to argue that the Court improperly assessed the leadership increase, his claim is not

cognizable under § 2255. See United States v. Payne, 99 F.3d 1273, 1281-82 (5th Cir. 1996) (“A

district court’s technical application of the Guidelines does not give rise to a constitutional issue”)

(quoting United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992); United States v. Williamson,

183 F.3d 458, 462 (5th Cir. 1999) (misapplication of the sentencing guidelines is not a cognizable

claim in a § 2255 motion).

       2.      Claim That Counsel Was Ineffective For Failing To Challenge Enhancement

       To the extent he couches his claim as one that his counsel was ineffective for failing to

challenge the enhancement, De La Torre’s claim is similarly infirm. To prevail on his claim of

ineffective assistance of counsel, a movant must demonstrate that his counsel’s performance was

both deficient and prejudicial. United States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001) (citing

Strickland v. Washington, 466 U.S. 668 (1984)). This means that a movant must show that

counsel’s performance was outside the broad range of what is considered reasonable assistance and

that this deficient performance led to an unfair and unreliable conviction and sentence. United

States v. Dovalina, 262 F.3d 472, 474-75 (5th Cir. 2001). To establish prejudice as a result of

alleged errors at sentencing, a § 2255 movant must show that there is a reasonable probability that,


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but for counsel’s alleged errors, the sentencing would have been different. See United States v.

Phillips, 210 F.3d 345, 350 (5th Cir. 2000). This requires him to show a reasonable probability that

he would have received a lesser sentence. United States v. Grammas, 376 F.3d 433, 438-39 (5th Cir.

2004).

         If the movant fails to prove one prong, it is not necessary to analyze the other. Armstead v.

Scott, 37 F.3d 202, 210 (5th Cir. 1994) (“A court need not address both components of the inquiry

if the defendant makes an insufficient showing on one”); Carter v. Johnson, 131 F.3d 452, 463 (5th

Cir. 1997) (“Failure to prove either deficient performance or actual prejudice is fatal to an

ineffective assistance claim.”).

         In this case, De La Torre can establish neither deficiency or prejudice. Notably, the PSR

contains ample facts and evidence supporting the leadership enhancement. (See generally PSR at

¶¶ 4-39.) Significantly, De La Torre told the Court there were no mistakes at all in the report at the

time of sentencing. (See S. Tr. at 7.) Accordingly, even if counsel had objected to the enhancement,

the leadership enhancement would have been applied and the result of the sentencing would not have

been different. See United States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999) (“An attorney’s

failure to raise a meritless argument ... cannot form the basis of a successful ineffective assistance

of counsel claim because the result of the proceeding would not have been different had the attorney

raised the issue.”). This ineffective assistance claim thus fails.

         For the foregoing reasons, De La Torre’s § 2255 motion is DENIED in its entirety.

C.       Certificate of Appealability

         An appeal may not be taken to the court of appeals from a final order in a habeas corpus

proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28 U.S.C.


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§ 2253(c)(1)(A). Although De La Torre has not yet filed a notice of appeal, this Court nonetheless

addresses whether he would be entitled to a COA. See Alexander v. Johnson, 211 F.3d 895, 898

(5th Cir. 2000) (a district court may sua sponte rule on a COA because “the district court that denies

a petitioner relief is in the best position to determine whether the petitioner has made a substantial

showing of a denial of a constitutional right on the issues before that court. Further briefing and

argument on the very issues the court has just ruled on would be repetitious.”).1

        A COA “may issue...only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under § 2253(c) requires

an overview of the claims in the habeas petition and a general assessment of their merits.” Miller-El

v. Cockrell, 537 U.S. 322, 336 (2003).

        To warrant a grant of the certificate as to claims denied on their merits, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). This standard requires

a § 2255 movant to demonstrate that reasonable jurists could debate whether the motion should have

been resolved differently, or that the issues presented deserved encouragement to proceed further.

United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002) (relying upon Slack, 529 U.S. at 483-84).

        As to claims that the district court rejects solely on procedural grounds, the movant must

show both that “jurists of reasons would find it debatable whether the petition states a valid claim




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          As of December 1, 2009, absent contrary Congressional action, amended Rule 11(a) of the RULES
GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED STATES DISTRICT COURTS will become effective.
This rule will require a district court to issue or deny a COA at the time the court enters a final order adverse
to the movant. Although amended Rule 11(a) is not yet effective, the practice it requires is a sound one that
the Court employs now. Nothing in the current version of the § 2255 rules prohibits the Court from
addressing a COA prior to a notice of appeal being filed.

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of the denial of a constitutional right and that jurists of reason would find it debatable whether the

district court was correct in its procedural ruling.” Slack, 529 U.S. at 484 (emphasis added).

       Based on the above standards, the Court concludes that De La Torre is not entitled to a COA

as to any of his claims. That is, reasonable jurists could not debate the Court’s resolution of his

claim that counsel was directed to appeal and failed to do so, nor would they debate its resolution

of his challenges to the leadership enhancement.

                                       IV. CONCLUSION

       For the foregoing reasons, De La Torre’s motion pursuant to 28 U.S.C. § 2255 (D.E. 67) is

DENIED. De La Torre is also denied a Certificate of Appealability.



       It is so ORDERED this 17th day of July, 2009.



                                               ____________________________________
                                                          Janis Graham Jack
                                                      United States District Judge




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